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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                  )
      MAKE THE ROAD STATES, INC.,                 )
      NAACP BUCKS COUNTY BRANCH                   )
      2253, BUXMONT UNITARIAN                     )
      UNIVERSALIST FELLOWSHIP,                    )
      and JUAN NAVIA,                             )
                                                  )   No. 2:25-cv-02938
                Plaintiffs,                       )
                                                  )
                v.                                )
                                                  )
      FREDERICK A. HARRAN,                        )
      individually and in his official            )
      capacity as Sheriff of Bucks County,        )
      and BUCKS COUNTY,                           )
                                                  )
                Defendants.                       )

          BRIEF IN SUPPORT OF PLAINTIFFS’ PETITION FOR ATTORNEYS’ FEES

I.      BACKGROUND

            Plaintiffs Make the Road States, Inc., NAACP Bucks County Branch 2253, Buxmont

  Unitarian Universalist Fellowship, and Juan Navia (collectively, “Plaintiffs”) filed a Complaint on

  June 6, 2025 in the Bucks County Court of Common Pleas, raising only state law claims against

  Defendants Frederick A. Harran (“Defendant Harran”) and Bucks County. See Compl., Dkt. 1-1.

  These claims arise out of Defendant Harran’s ultra vires signing of a 287(g) agreement with U.S.

     Immigration and Customs Enforcement (“ICE”), purporting to dedicate county personnel and

     resources to immigration enforcement functions, without the approval of the Bucks County Board

     of Commissioners required as a matter of Pennsylvania law. Id. Plaintiffs simultaneously filed an

     application for a preliminary injunction in the Bucks County Court of Common Pleas to prevent

     Defendants from immediately implementing this ultra vires agreement. Dkt. 6-3.



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       On June 9, 2025, before the state court had an opportunity to address Plaintiffs’ preliminary

injunction motion, Defendant Harran filed a Notice of Removal of this action to federal court

relying on 28 U.S.C. § 1441(a). See Notice of Removal, Dkt. 1. Defendant Bucks County did not

consent to this removal. See June 10, 2025 E-mail from D. Grieser, Dkt. 6-4. Defendant Harran’s

attempt to remove under 28 U.S.C. § 1441(a) was thus in plain violation of 28 U.S.C. §

1446(b)(2)(A). Presumably recognizing this defect, Defendant Harran filed an Amended Notice

of Removal on June 10, 2025, attempting to raise a post hoc justification for removal under 28

U.S.C. § 1442. Dkt. 3.

       Given the urgency of this matter, the clear impropriety of Defendant Harran’s removal, and

the need for resolution of the preliminary injunction motion pending in state court, Plaintiffs

immediately sought remand and asked for expedited consideration of its remand motion on June

12, 2025. Dkt. 6. And given Defendant Harran’s lack of an objectively reasonable basis for seeking

removal, Plaintiffs moved for an award of costs, expenses, and attorneys’ fees pursuant to 28

U.S.C. § 1447(c). See Dkt. 6-5 (quoting Martin v. Franklin Cap. Corp., 546 U.S. 132, 141 (2005);

League of Women Voters of Pa. v. Commonwealth of Pa. (“LWV”), 921 F.3d 378, 383 (3d Cir.

2019)). The Court directed the parties to submit a joint briefing schedule and held a status

conference to discuss the removal and remand issues on June 16, 2025. See Dkt. 10 & 13. Per the

parties’ agreed schedule, Defendants responded to Plaintiffs’ Expedited Motion to Remand on

June 20 (Dkt. 14 & 15), and Plaintiffs filed an expedited Reply Brief on June 24, 2025 (Dkt. 17).

       While the remand motion was pending, Defendant Harran’s representatives declined

Plaintiffs’ request to cease any implementation of his unlawful 287(g) agreement pending the

outcome of the remand motion. See Dkt. 19-3. Given this indication that he would continue through

the process of training deputies to carry out federal immigration functions pursuant to an

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   unapproved, unlawful agreement, Plaintiffs filed a Motion for Temporary Restraining Order on

   June 26, 2025, seeking to preserve the status quo pending the remand decision. Dkt. 19.

             On June 27, 2025, this Court issued an Order and Memorandum Opinion granting

   Plaintiffs’ Motion for Remand. 1 The Court determined that “there is no proper basis to remove this

      case to federal court” and therefore ordered it remanded to the Bucks County Court of Common

      Pleas “[f]or lack of jurisdiction.” Dkt. 21 at 8. Finding that Defendant Harran lacked any

  “objectively reasonable basis for seeking removal,” this Court further awarded attorneys’ fees and

  costs pursuant to 28 U.S.C. § 1447(c). Id. at 9 (quoting Martin, 546 U.S. at 141). In its

  Memorandum Opinion supporting this award, the Court found Defendant Harran’s arguments

  under § 1442 to be “absurd.” Id. at 5. Accordingly, the Court determined:

             Sheriff Harran’s first attempt at removal under § 1441(a) was plainly procedurally
             defective because Defendant Bucks County did not consent to removal. His second
             removal attempt clearly failed to establish that he is entitled to removal under §
             1442(a)(1).

   Id. at 9. Having determined that an award of fees is appropriate, the Court ordered Plaintiffs to file

   this fee petition to determine the specific amount. See Dkt. 22.

II.      DISCUSSION

             The federal removal and remand statute authorizes an award of “just costs and any actual

  expenses, including attorney fees, incurred as a result of the removal” to a plaintiff prevailing on

  motion for remand. 28 U.S.C. § 1447(c). As this Court recognized, such an award is appropriate

  where, as here, “the removing party lacked an objectively reasonable basis for seeking removal.”

  LWV, 921 F.3d at 383 (quoting Martin, 546 U.S. at 141). As detailed in Plaintiffs’ briefing on their



   1
      The Court’s decision to remand the case moots Plaintiffs’ June 26, 2026 Motion for Temporary
   Restraining Order filed with this Court, leaving the state court to address their already-pending
   request for preliminary relief.

                                                     3
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Expedited Motion for Remand, and confirmed in this Court’s Memorandum Opinion, Defendant

Harran’s attempts to justify removal under either § 1441 or § 1442 were completely without legal

basis and accomplished little more than adding unnecessarily costly steps to this litigation and

delaying prompt adjudication of Plaintiffs’ preliminary injunction. Because the Court has already

ruled that Defendant Harran lacked reasonable basis for removal, and has therefore already ordered

the payment of fees, Plaintiffs focus here on the amount of their reasonable fees incurred as a result

of the improvident removal.

       The appropriate amount of fees to award is determined by the recognized “lodestar”

method, multiplying a reasonable hourly billing rate for the lawyers’ services by the reasonable

number of hours expended on the litigation. LWV, 921 F.3d 378, 387 (3d Cir. 2019) (citing In re

AT & T Corp., 455 F.3d 160, 164 (3d Cir. 2006)). “The lodestar is presumed to be the reasonable

fee.” Rode v. Dellarciprete, 892 F.2d 1177, 1183 (3d Cir. 1990) (citing Blum v. Stenson, 465 U.S.

886, 897 (1984)).

    A. Plaintiffs’ Rates Are Reasonable.

       In determining the reasonableness of each attorney’s rate, the Court should consider the

experience and skill of the attorney and compare the attorney’s rates to the rates prevailing in the

community for similar services by lawyers of reasonably comparable skill, experience, and

reputation. Here, the Court should look to “customary Philadelphia legal fees.” LWV, 921 F.3d at

387 (citing Interfaith Cmty. Org. v. Honeywell Int'l, Inc., 426 F.3d 694, 699 (3d Cir. 2005)). The

fee schedule published by Community Legal Services (CLS) is “a fair reflection of the prevailing

market rates in Philadelphia.” 2 MP ex rel. VC v. Parkland Sch. Dist., No. 5:20-cv-4447, 2021 WL


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    The CLS fee schedule, available at https://clsphila.org/about-community-legal-
services/attorney-fees/, was last updated on January 19, 2023.

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5177012, at *2 (E.D. Pa. Nov. 5, 2021) (quoting Maldonado v. Houstoun, 256 F.3d 181, 187 (3d

Cir. 2001)). 3 An attorney’s admission to the bar is the relevant starting point for evaluating

experience. Id.

       Plaintiffs have been represented in this litigation by attorney Marielle Macher of the

Community Justice Project and attorneys Stephen A. Loney, Jr., Ariel Shapell, and Keith

Armstrong of the ACLU of Pennsylvania, with assistance from paralegal Emily Hoecker. Attached

as exhibits are declarations of Plaintiffs’ representatives, documenting each of their experience,

hourly rate, and time spent on this case. The fees for each are calculated using the lodestar method

are as follows:

                           Years of            Hourly
 Attorney                  Experience Time     Rate                Amount
 Marielle Macher                    14      32 $ 500               $       16,000.00
 Stephen A. Loney, Jr.              21    25.3 $ 630               $       15,372.00
 Ariel Shapell                       4    18.4 $ 315               $        1,449.00
 Keith Armstrong                     4     7.2 $ 315               $        1,795.50
 Emily Hoecker                      5*     4.5 $ 205               $          553.50
 TOTALS                                                            $      $35,170.00
*Indicates years of experience in paralegal roles.

       Marielle Macher is the Executive Director at the Community Justice Project (“CJP”), a

non-profit legal aid program that focuses on impact-oriented advocacy and legal challenges to

policies and practices that cause hardship to low-income people throughout Pennsylvania. She has

approximately 14 years of federal litigation experience, beginning as a law clerk for the Honorable




3
    This Court recently approved hourly rates exceeding the CLS fee schedule for prevailing
attorneys with extraordinary experience and skill in civil rights cases. Dennis v. Jastrzembski, No.
CV 18-2689, 2025 WL 1582452, at *3 (E.D. Pa. June 4, 2025). While experienced attorneys and
leaders in their field like attorneys Macher and Loney might justify a departure from CLS rates on
a similar basis, Plaintiffs are grounding this petition in CLS rates for the sake of reasonableness
and to avoid needless disputes over appropriate rates.

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Thomas I. Vanaskie of the U.S. Court of Appeals for the Third Circuit. She was a Skadden Fellow

at the Washington Lawyers’ Committee for Civil Rights & Urban Affairs and served as a Staff

Attorney at CJP before becoming the organization’s Executive Director. Ms. Macher earned her

law degree from Harvard Law School and her undergraduate degree from Cornell University. Her

$500 hourly rate for this case is consistent with the 2023 CLS fee schedule, which provides an

hourly rate range of $420-525 for lawyers with 11-15 years of experience. Ms. Macher’s

Declaration is attached hereto as Exhibit A.

       Stephen A. Loney, Jr. is the Senior Supervising Attorney at the ACLU of Pennsylvania.

He has 21 years of complex litigation and federal court experience, including practicing

commercial litigation for 16 years at large law firms. Before leaving private practice to pursue civil

rights work full time, Mr. Loney maintained a civil rights practice as a Pro Bono Liaison Partner

for Hogan Lovells and served as the Group Manager for the firm’s award-winning Philadelphia

Litigation Group, where his billable rate routinely exceeded $900-1,000 per hour. Mr. Loney

earned his law degree from the New York University School of Law in 2004 and his undergraduate

degree from St. Joseph’s University in 2001. He also clerked for the Honorable Franklin Van

Antwerpen on the U.S. Court of Appeals for the Third Circuit. Mr. Loney’s $630 hourly rate for

this case is consistent with the 2023 CLS fee schedule, which provides an hourly rate range of

$630-715 for lawyers with 21-25 years of experience. Mr. Loney’s Declaration is attached hereto

as Exhibit B.

       Ariel Shapell is a Staff Attorney with the ACLU of Pennsylvania. He has 4 years of federal

litigation experience, practicing civil rights for his entire career. He earned his law degree from

the University of Pennsylvania Carey Law School in 2021 and earned his undergraduate degree

from Washington University in St. Louis. Mr. Shapell’s $315 hourly rate for this case is consistent

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with the 2023 CLS fee schedule, which provides an hourly rate range of $265-315 for lawyers with

2-5 years of experience. Mr. Shapell’s Declaration is attached hereto as Exhibit C.

        Keith Armstrong is a litigation attorney with a specialty in immigrants’ rights issues. He

earned his law degree from the Northwestern University Pritzker School of Law in 2021 and

earned his undergraduate degree from Macalester College. Since 2023, Mr. Armstrong has been a

Fellowship Attorney for Immigrants Rights with the ACLU of Pennsylvania. Mr. Armstrong’s

$315 hourly rate for this case is consistent with the 2023 CLS fee schedule, which provides an

hourly rate range of $265-315 for lawyers with 2-5 years of experience. Mr. Armstrong’s

Declaration is attached hereto as Exhibit D.

        Emily Hoecker is an experienced paralegal with the ACLU of Pennsylvania. She has been

the lead paralegal for the organization since 2023 and, before that, worked for 3 years at a criminal

defense legal organization in Oklahoma. She earned an undergraduate degree from Northwestern

University in December 2019. Ms. Hoecker’s $205 hourly rate for this case is consistent with the

2023 CLS fee schedule, which provides an hourly rate range of $190-240 for paralegals with 1-10

years of experience. Ms. Hoecker’s Declaration is attached hereto as Exhibit E.

        In light of the foregoing qualifications, Plaintiffs request hourly rates from $205 to $630,

commensurate with each representative’s skill and experience level. The rates charged in this

matter were commensurate with those of other attorneys with similar levels of experience

practicing in this Court. 4




4
    In an effort to minimize the expenditure of additional time, fees and expenses, Plaintiffs have
not included in this submission supporting affidavits from community lawyers to further bolster
their submission on reasonableness of fees in the prevailing market, because the process of
soliciting these testimonials can be time-consuming, thus driving up fees.

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          B. The Time Spent Is Reasonable.

              Plaintiffs’ attorneys’ time sheets are based on notes contemporaneously maintained and

    kept in the regular course of business. Each attorney’s time sheet is attached to their respective

    declaration. The time spent, on an expedited schedule, addressing this baseless removal was

    especially necessary given the importance of the rights at stake and the need to move quickly to

    minimize the impact of Defendant Harran’s move to delay adjudication of Plaintiffs’ preliminary

    injunction motion filed in state court. The expenses and fees were further significantly

    compounded by Defendant Harran’s sudden shifting of theories for removal from federal question

    jurisdiction under § 1441 to federal officer removal under § 1442. All tasks listed in the

    accompanying time sheets, and the time spent to perform them, were thus necessitated by

    Defendant Harran’s improvident removal to federal court without objectively reasonable basis.

    Plaintiffs have not charged for any time or activity that they would have performed in state court,

    but for the need to address Defendant Harran’s removal. 5

III.      CONCLUSION

              For the foregoing reasons, this Court should award Plaintiffs $35,170.00 in reasonable

    attorneys’ fees pursuant to 28 U.S.C. § 1447(c).




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        Plaintiffs do not include here time spent on their June 26, 2025 Motion for Temporary
    Restraining Order (“TRO”), the substance of which overlaps with the preliminary injunction
    motion previously filed in state court. As Plaintiffs would not have expended the additional
    attorney time preparing and filing the TRO motion in this court but for Defendant Harran’s
    baseless removal, their decision not to include fees for the TRO motion further demonstrates the
    reasonableness of the fees requested here.

           For the sake of reasonableness and expediency, Plaintiffs also do not seek here any fees for the
       time spent preparing this Petition, though they would be entitled to do so. Should Defendant
       Harran’s opposition trigger protracted litigation over this Fee Petition, Plaintiffs reserve the right
       to petition for costs, expenses, and attorneys’ fees incurred in such further litigation.

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Dated:   July 2, 2025                Respectfully submitted,

                                  By: /s/ Stephen A. Loney, Jr.
Marielle Macher (No. 318142)           Stephen A. Loney, Jr. (No. 202535)
Daniel Vitek (No. 209013)              Ari Shapell (No. 330409)
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                                     Counsel for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I hereby certify that on the date set forth below, I caused the foregoing document to be

served on all parties of record via the Court’s CM/ECF system.



Dated: July 2, 2025                                 s/ Stephen A. Loney




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